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                             ST ATE             OF MINNESOTA
                                 IN SUPREME                          COURT

                                       Certificate of Good Sr.anding




  This is to certi:ty that the following   lawyer   is in good   standing.




                                           DANIEL CHARLES        HEDLUND




  was duly adinitted    to practice   as a lawyer   and counselor    at law in all tl'ie courts   of tliis state on




                                               October 27 1995



  Given   under   my hand and seal of this court     on



                                               October 26, 2021


                                                                                            %f;"-
                                                                                             Ernily   J. Eschweiler,      Director

                                                                                             Office   of Lawyer       Registration
